   USDC IN/ND case 1:20-cv-00039-HAB document 40 filed 03/26/20 page 1 of 2


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA
                                  FORT WAYNE DIVISION

JOHN DOE,                                      )
                                               )
                 Plaintiff,                    )
                                               )
         v.                                    )       CASE NO: 1:20-CV-00039-HAB-SLC
                                               )
INDIANA WESLEYAN UNIVERSITY,                   )
                                               )
                 Defendant.                    )

               NOTICE OF AVAILABILITY FOR SETTLEMENT CONFERENCE

         Pursuant to the Court’s March 26, 2020 Order for Magistrate Judge Susan Collins [Doc.

No. 39], Defendant, Indiana Wesleyan University, by counsel, respectfully submits this notice

regarding it and its counsel’s availability for a telephonic settlement conference. Of the dates the

Court proposed, Defendant and its counsel are available on April 6, 7, and 13. They also can be

available on April 9, if necessary, but respectfully request that the Court set the telephonic

settlement conference for that date only if it is the only date on which all participants are

available.

                                               Respectfully submitted,

                                               FAEGRE DRINKER BIDDLE & REATH LLP

                                               By: /s/ Amanda L. Shelby
                                               Amanda L. Shelby (#27726-49)
                                               Grayson F. Harbour (#35700-35)
                                               300 North Meridian Street, Suite 2500
                                               Indianapolis, Indiana 46204
                                               Telephone:     (317) 237-0300
                                               Facsimile:     (317) 237-1000
                                               Email: amanda.shelby@faegredrinker.com
                                                        grayson.harbour@faegredrinker.com

                                               Attorneys for Defendant




{K0785412.1}
   USDC IN/ND case 1:20-cv-00039-HAB document 40 filed 03/26/20 page 2 of 2




                                  CERTIFICATE OF SERVICE

         I hereby certify that on March 26, 2020, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to the following parties by operation of the Court’s electronic

filing system. Parties may access this filing through the Court’s system.

                        Peter J. Agostino
                        ANDERSON AGOSTINO & KELLER, P.C.
                        131 South Taylor Street
                        South Bend, IN 46601
                        agostino@aaklaw.com

                        Susan C. Stone
                        Kristina W. Supler
                        KOHRMAN JACKSON & KRANTZ, LLP
                        1375 E. 9th Street, 29th Floor
                        Cleveland, OH 44114
                        scs@kjk.com
                        kws@kjk.com

                                               /s/ Amanda L. Shelby




{K0785412.1}
                                                  2
